       Case 1:20-cv-00292-JPW Document 168 Filed 11/30/21 Page 1 of 3




              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

____________________________________
PACE-O-MATIC, INC.,                 :
                                    :
                     Plaintiff,     :
     v.                             :               Docket No. 1:20-cv-00292
                                    :
ECKERT SEAMANS CHERIN &             :
MELLOTT, LLC,                       :               (Judge Jennifer P. Wilson)
                                    :               (Judge Joseph F. Saporito, Jr.)
                     Defendant.     :
____________________________________:


               NOTICE OF APPEAL OF DEFENDANT,
         ECKERT SEAMANS CHERIN & MELLOTT, LLC, FROM
          MAGISTRATE JUDGE JOSEPH F. SAPORITO, JR.’S
           NOVEMBER 16, 2021 ORDER AND MEMORANDUM

      Pursuant to Federal Rule of Civil Procedure 72 and Local Rule 72.2,

defendant, Eckert Seamans Cherin & Mellott, LLC (“Eckert”), by and through its

counsel, Fox Rothschild LLP, hereby appeals Magistrate Judge Joseph F. Saporito,

Jr.’s November 16, 2021 Order and Memorandum dealing with judicial estoppel

and implied waiver of the attorney-client privilege, and respectfully objects to the

Order and Memorandum. Eckert seeks for the District Court to reverse and vacate

Magistrate Judge Saporito’s Order and Memorandum. A true and correct copy of

the February 16, 2021 Order and Memorandum is attached hereto as Exhibit “A”.
       Case 1:20-cv-00292-JPW Document 168 Filed 11/30/21 Page 2 of 3




      In support of this appeal/objection, Eckert relies upon the contemporaneously

filed Brief in Support of this Appeal.




                                 _________________________________________
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                                 ROBERT S. TINTNER, ESQUIRE (No. 73865)
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                                 Counsel for Defendants,
                                 ECKERT SEAMANS CHERIN & MELLOTT,
                                 LLC, MARK S. STEWART and KEVIN M.
                                 SKJOLDAL
Date: November 30, 2021
       Case 1:20-cv-00292-JPW Document 168 Filed 11/30/21 Page 3 of 3




             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

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PACE-O-MATIC, INC.,                 :
                                    :
                     Plaintiff,     :
     v.                             :                Docket No. 1:20-cv-00292
                                    :
ECKERT SEAMANS CHERIN &             :
MELLOTT, LLC,                       :                (Judge Jennifer P. Wilson)
                                    :                (Judge Joseph F. Saporito, Jr.)
                     Defendant.     :
____________________________________:

                         CERTIFICATE OF SERVICE

      I, Robert S. Tintner, Esquire, hereby certify that, on this 30th day of

November, 2021, I served a true and correct copy of the foregoing Notice of

Appeal, via ECF, upon all counsel of record and the following by e-mail:


Daniel T. Brier, Esquire               Judge Joseph F. Saporito, Jr.
Donna A. Walsh, Esquire                Magistrate Judge
Myers, Brier & Kelly, LLP              U.S.D.C., Middle District of Pennsylvania
425 Spruce Street, Suite 200           Max Rosenn U.S. Courthouse
Scranton, PA 18503                     197 South Main Street
                                       Wilkes-Barre, PA 18701
Counsel for Plaintiff
PACE-O-MATIC, INC.




                                 ________________________________________
                                 ROBERT S. TINTNER, ESQUIRE
